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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

RETHINKS35, et al., §
Plaintiffs, :
v. CIVIL ACTION NO. 1:24-CV-00092-DII
TEXAS DEPARTMENT OF
TRANSPORTATION, §
Defendant. :

CERTIFICATION OF SUPPLEMENTAL ADMINISTRATIVE RECORD
DECLARATION OF DOUG BOOGHER

I, Doug Booher, declare as follows:

I. I am the Director of the Environmental Affairs Division of the Texas Department of
Transportation (TxDOT). I have served in my Director role since 2021. I have been responsible,
with others, for assembling the Administrative Record for the Record of Decision for the I-35
Capital Express Central Project from US 290 East to State Highway 71/Ben White Boulevard
(“CapEx Central” or “Project’’), that is the subject of this litigation.

2. Attached to this Declaration as Exhibit | is the TxDOT Index for the Supplemental
Administrative Record. The document in the Supplemental Administrative Record was
considered, directly or indirectly, by TxDOT in this decision. This document is a true and correct
copy of the original document located in the files for the Project.

3. The Index and an electronic copy of the document in the Supplemental Administrative
Record is collected and saved onto one flash drive. Two identical flash drives are being delivered
to the Clerk’s office, one of which will be routed to the assigned Judge’s Chambers by the Clerk,

and two flash drives are being delivered to Plaintiffs’ counsel.
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4, ] certify under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and I would so testify if called upon to do so in a court of law.

Dated this Ad day of August 2024.

“woe

DOU BOOHER

Director, Environmental Affairs Division
Texas Department of Transportation

